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                                          November 18, 2021

VIA CM/ECF & HAND DELIVERY
The Honorable Laurie Selber Silverstein
United States Bankruptcy Court
for the District of Delaware
824 N. Market Street, 6th Floor
Wilmington, DE 19801

        Re:     Boy Scouts of America and Delaware BSA, LLC
                Bankr. D. Del. Case No. 20-10343 (LSS)

Dear Judge Silverstein:

         We write on behalf of the AVA Law Group to respectfully request that the Court postpone
Item 8 on the Notice of Agenda for the hearing tomorrow morning, Friday, November 19, 2021,
until the next omnibus hearing in this case, or until another time convenient to the Court. Item 8
is D.I. 7239, a letter seeking to compel AVA Law Group, among others, to produce discovery and
other relief.

       Item 8 was filed late Monday night with no prior notice to opposing parties. The
undersigned counsel has been working on this matter since early October. However, I am on
vacation this week and have limited ability to work remotely. The participation of undersigned
counsel will be required to adequately respond to this Motion. Only I have been working on this
matter since early October and only I can speak to certain aspects of D.I. 7239 that should be
addressed.1 In addition, there are a number of other factors of which the Court should be aware
before making a decision on this application, but logistics prevent me from putting that all together
on such short notice and from a remote location.

        I have conferred with the counsel that filed D.I. 7239, and they advised me that they would
agree to postpone the hearing subject to the Court scheduling another hearing next week. They
also said they would reach out to Chambers to see if the Court had availability next week. That

1
 For example, the description of the offer in the fourth paragraph of D.I. 7239’s Preliminary Statement is
incorrect, but the undersigned counsel was the only one participating in that call on behalf of the AVA Law
Group.


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was on Tuesday, but, as of this writing, I have not been copied on any emails to Chambers and the
Notice of Agenda filed with the Court notes simply that this matter is going forward. Thus,
regrettably, undersigned counsel is compelled to write to the Court directly.

       There is no reason for this matter to go forward on such shortened notice, particularly when
counsel is unavailable to speak on AVA Law Group’s behalf. AVA Law Group and its principal,
Mr. Van Arsdale, were served with subpoenas in early October. Those subpoenas were issued
from the United States Bankruptcy Court for the District of California by counsel for Century
Indemnity. The discovery requests at the heart of D. I. 7239 were issued four days later by “Certain
Insurers” – a group that included Century Indemnity. AVA Law Group timely responded to both
the California subpoenas and the Delaware discovery requests and attempted to meet and confer
with counsel in both matters. The last correspondence that I received regarding the Delaware
discovery requests was on October 29. Given that the “Certain Insurers” have waited so long to
address this situation, they will suffer no real prejudice if the matter is postponed briefly so AVA
Law Group can mount a proper defense.

        Item 8 on the Notice of Agenda seeks relief with respect to several distinct parties based
on separate discovery requests propounded by the Certain Insurers. Given how the application
was framed, we would prefer that the entire item be tabled and rescheduled either for the next
Omnibus Hearing Date (December 12, 2021) or at another time convenient to the Court.
Undersigned counsel will be able to file a written response to D.I. 7239 as soon as Monday,
November 22, 2021, although more time would be appreciated. Alternatively, we would have no
objection to D.I. 7239 going forward as to other parties (subject to their objections of course),
provided that AVA Law Group does not suffer any prejudice as a result.

        Thank you, Your Honor, for your consideration of this letter. Undersigned counsel will do
his best to respond should the Court have any questions concerning this matter.

                                              Respectfully submitted,

                                              /s/ Joseph Grey

                                              Joseph Grey (No. 2358)


cc:    All Interested Parties via CM/ECF
